Case 2:19-cv-01119-MWF-SK Document 25 Filed 07/03/19 Page 1 of 2 Page ID #:114



  1   NATHAN C. VOLHIEM
      nvolheim@sulaimanlaw.com
  2   SULAIMAN LAW GROUP, LTD.
  3   2500 South Highland Avenue, Suite 200
      Lombard, IL 60148
  4   Telephone: (630) 575-8181
      Facsimile: (630) 575-8188
  5   Attorney for Plaintiff
  6

  7                                UNITED STATES DISTRICT COURT
  8                              CENTRAL DISTRICT OF CALIFORNIA
  9

 10    THOMAS SCHNEIDER,                              Case No. 2:19-cv-01119-MWF-SK
 11                       Plaintiff,                  NOTICE OF SETTLEMENT
 12           v.
 13
       RASH, CURTIS & ASSOCIATES,
 14
                          Defendant.
 15

 16

 17                                      NOTICE OF SETTLMENT
 18

 19          PLEASE TAKE NOTICE THOMAS SCHNEIDER, (“Plaintiff”), hereby notifies the Court

 20   that the Plaintiff and Defendant, have settled all claims between them in this matter and are in the

 21   process of completing the final closing documents and filing the dismissal. The Parties anticipate
 22   this process to take no more than 60 days and request that the Court retain jurisdiction for any
 23
      matters related to completing and/or enforcing the settlement. The Parties propose to file a
 24
      stipulated dismissal with prejudice with 60 days of submission of this Notice of Settlement and
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      pray the Court to stay all proceedings until that time.
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 27   Respectfully submitted this 17th day of June 2019.

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Case 2:19-cv-01119-MWF-SK Document 25 Filed 07/03/19 Page 2 of 2 Page ID #:115



  1                                                          s/ Nathan C. Volheim
                                                             Nathan C. Volheim
  2                                                          Admitted Pro Hac Vice
  3                                                          Sulaiman Law Group, Ltd.
                                                             2500 S. Highland Avenue, Suite 200
  4                                                          Lombard, IL 60148
                                                             (630) 575-8181
  5                                                          ecoleman@sulaimanlaw.com
                                                             Attorney for Plaintiff
  6

  7                                     CERTIFICATE OF SERVICE

  8             I hereby certify that I today caused a copy of the foregoing document to be electronically

  9   filed with the Clerk of Court using the CM/ECF system, which will be sent to all attorneys of
 10
      record.
 11

 12                                                                 s/ Nathan C. Volheim
                                                                    Nathan C. Volheim
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